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                             UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA

                                   CIVIL MINUTES – GENERAL

Case No.        CV 20-8041 MWF (Ex)                                      Date: December 02, 2020
Title       Victor Aguirre v. Hong Thuong Lim, et al.


Present: The Honorable:       MICHAEL W. FITZGERALD, United States District Judge
                    Rita Sanchez                                       Not Reported
                    Deputy Clerk                                 Court Reporter / Recorder

        Attorneys Present for Plaintiffs:                 Attorneys Present for Defendants:
                 Not Present                                        Not Present

PROCEEDINGS (IN CHAMBERS):                            COURT ORDER

       In light of the Notice of Settlement [13] filed November 30,2020, the Court
sets a hearing on Order To Show Cause Re Dismissal for January 11, 2021 at
11:30 a.m. If a stipulated dismissal is filed prior to this date, the matter will be
taken off calendar and no appearance is needed. All other hearings and deadlines
are hereby vacated.

                  IT IS SO ORDERED.




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